                                                                                Motion GRANTED
                                                                                conditioned upon the
                           UNITED STATES DISTRICT COURT                         timely filing of waivers
                           MIDDLE DISTRICT OF TENNESSEE                         of speedy trial by all
                                NASHVILLE SECTION                               defendants.



UNITED STATES OF AMERICA                     ]
                                             ]
VS.                                          ]        CRIM. CASE NO. 1:12-CR-00001
                                             ]        JUDGE TRAUGER
WAYNE HAMPTON                                ]




                              MOTION TO CONTINUE TRIAL



       Comes now the Defendant, through undersigned counsel, and moves this Honorable

Court to continue the trial in this cause. As grounds therefore, the Defendant would show as

follows:

       1.      The trial is currently set for January 15, 2013, by Order of this Court. [Doc. No.

               93]

       2.      Counsel for Defendant Hampton has a scheduling conflict with the current trial

               date. Counsel has a trial in the case of United States v. Vichitvongsa, Case No.

               3:12-00013, set to commence on January 8, 2013. The trial involves eight co-

               defendants with numerous charges of drug conspiracy, Hobbs Act robberies as

               well as numerous weapons charges. The trial is anticipated to last two weeks, and

               counsel would be unavailable to try Mr. Hampton’s case as scheduled.

       3.      Counsel has spoken with Asst. U.S. Attorney Lynne Ingram, and the government

               has no opposition to this motion. Counsel has additionally spoken with Ms.




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